           Case 2:18-cr-00345-JFW Document 31-1 Filed 07/09/18 Page 1 of 1 Page ID #:112
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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                       CASE NUMBER


                                                                                      CR 18-345-JFW
                                                    PLAINTIFF
                                 v.
John Saro Balian,                                                  NOTIFICATION RE: APPLICATION FOR BAIL
                                                                   REVIEW OR RECONSIDERATION OF ORDER
                                                                           SETTING CONDITIONS OF
                                                                          RELEASE OR DETENTION,
                                                 DEFENDANT.                    (18 U.S.C. §3142)

PLEASE TAKE NOTICE that the Request for Hearing on the Application for Review/Reconsideration of Order Setting
Conditions of Release/Detention:

G is approved. The matter is set on calendar for hearing before:

G District Judge

G Magistrate Judge

on                                                        at                       G a.m. G p.m.

in courtroom                                                                                      .

G is not approved.

G Other:

     An interpreter is G required G is not required. Language
     Defendant is G in custody G not in custody.

                                                 Clerk, U. S. District Court




Date                                     Deputy Clerk                                     Contact Phone Number

Notice is electronically made upon transmission of the Notice of Electronic Filing to the following agencies:
cc: G Probation G Interpreter’s Office G PSA.




             NOTIFICATION RE: APPLICATION FOR BAIL REVIEW OR RECONSIDERATION OF ORDER SETTING CONDITIONS OF
                                           RELEASE OR DETENTION, (18 U.S.C. §3142)
CR-88A (10/09)
